Case 2:05-cr-20120-.]DB Document 33 Filed 07/22/05 Page 10f3 Page|D 28
IN THE UNITED sTATES DISTRICT COURT

men mr __.iéo.c.
FOR THE wEsTERN DISTRICT OF TENNESSEE
wESTERN DIvIsION 05~““-22 PH l=59

 

m

_CUHKUS§$UBTUIRT

UNITED sTATEs OF AMERICA WBOFthMHB
Plaintiff,

V.

S€A/U L€’€

Criminal No. O_-§-Z@/ZO Ml

( 6 0 -Day Continuance)

 

 

 

 

 

V~_/WW`JVVVVVVVVV~_/V\_/~_"’

Defendant(s).

 

CONSENT ORDER ON C‘RIMINAL CASE CON'I‘INUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23, 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22m'day of July, 2005.

This document entered on the docket Sheet ‘ln compliance

,. z
with ama 55 and/or 32(b) mch on 7 353 Q, 1

Case 2:05-cr-20120-.]DB Document 33 Filed 07/22/05 Page 2 of 3 Page|D 29

so 0RDERED this 22nd day of July, 2005.

Q`QM‘O,QQ`_

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

gm .

Assistant United States Attorney

HM¢¢{Z:¢W;\
(/

 

 

 

 

Counsel for Defendant(s)

     

UNITED sTATE onlle COURT - WESTERN D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20120 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Jacob E. ErWin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

